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REPUBLIC OF THE PHILIPPINES Oy
DEPARTMENT OF LABOR AND EMPLOYMENT (Va
NATIONAL LABOR RELATIONS COMMISSION / \

NATIONAL CAPITAL REGION uff ye iB)
QUEZON CITY Cte

JELEN O. CARPIO,

representing all heirs of DIOGENES M. CARPIO, JR.
Complainant,

NLRC NCR CASE NO. (M)_/ [-/¥2%5/-/t

versus —

NORWEGIAN CRUISE LINE /
C. F. SHARP CREW MANAGEMENT, INC., et. al.

Respondents.
x x

JOINT MOTION TO DISMISS

Come now Complainant JELEN O. CARPIO representing all heirs of
DIOGENES M. CARPIO, JR. and respondents C. F. SHARP CREW MANAGEMENT,
INC./NORWEGIAN CRUISE LINE, by their undersigned attorney, and to this Honorable
Office respectfully move for the dismissal of the above case, with prejudice, on the
ground that the parties have entered into a full and final amicable settlement of this
case. Copy of the RELEASE OF ALL RIGHTS executed by complainant is hereto
attached as Annex “A”.

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The parties hereto have agreed that the amicable settlement of this
case would mean a final and complete end to all the claims of the
complainant and that the filing of this Joint Motion to Dismiss does not
mean admission of any liability whatsoever on the part of herein
respondents.

PRAYER

WHEREFORE, the parties respectfully pray that this Honorable Office
render an Order:

1. Approving the RELEASE OF ALL RIGHTS executed by the
complainant that is attached hereto as Annex “A”:

2. Dismissing the instant case, with prejudice and without
pronouncement as to costs.

08 November 2046, Quezon City, Philippines

JELEN 0.
Complainant
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CARM

Counsel/for Respondents

Casa

290 General Luna St., Intramuros Manila City

Roll No. 53441

IBP Lifetime No. 778219

PTR No. 4888118/12-04-2015/Manila City
MCLE Compliance V

0013710/ 01-26-2016

Pasig City

cgmagpantay@cfsharp.com

Tel. No.527-60-31

NOTIFICATION

The Honorable Office

Department of Labor and Employment
National Labor Relations Commission
National Capital Region

Quezon City

Greetings:

Te

Please submit the foregoing motion for consideration and approval of
this Honorable Office immediately upon receipt hereof.

08 November “ye City, Philippines

ral CARbrO,

Complainant
becuse:

CAR GPANTAY

ca for Respondents

Casa Rocha Building

290 General Luna St., Intramuros Manila City
IBP # Roll No. 53441

IBP Lifetime No. 778219

PTR No. 4888118/12-04-2015/Manila City
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RELEASE OF ALL RIGHTS

READ CAREFULLY — By signing this you give up EVERY right you have.

I, JELEN O. CARPIO (representing myself and children TERRENCE JUDE
O. CARPIO, 9 years old and JILLIAN DENISE O. CARPIO, 6 years old) of legal
age, Filipino with residence at PH 1 BLK 3 Lot 34 Camella Homes Fiorenza Paligui Apalit
Pampanga 2016, and only legal heir of DIOGENES M. CARPIO, JR. (see attached
Affidavit of Heirship) for valued consideration which I have received:

The Peso equivalent of ONE HUNDRED THIRTY THOUSAND US DOLLARS (USD
130,000.00).

Do hereby war (Please write the word RELEASE to show that you know

\ what you are doing) ahd forever discharge: NORWEGIAN CRUISE LINE/C.F. SHARP CREW
AR

MANAGEMENT, INC., and their heirs, executors, administrators, successors and assigns, and
their several vessels and in particular the M/S NORWEGIAN BREAKAWAY (DECK AND
ENGINE) and the owners, agents, operators, charterers, masters, officers and crews, the
underwriters and P&I Club of said vessels from each and every right and claim which I now
have, or may hereafter have, whether arising in tort, contract, statutory law, or any other basis
of recovery, on account of the DEATH of my husband DIOGENES M. CARPIO, JR.

And, in addition to that, I \ulease—— (Please write the word RELEASE to
show that you know what you are doing) them from each and every right and claim which I
now have or may hereafter have because of any matter or thing which happened before the
signing of this paper, it being my intention by the signing of this paper to wipe the slate clean
as between myself, my successors-in-interest and the parties released, even with respect to
injuries, illnesses, rights and claims not mentioned herein and which are not known to me. I
agree not to file any claims against the Owners and its successors-in-interest based on tort or
on any other ground, or to arrest the subject vessel or any other vessel of the said Owners,
( operators or charterers.

I agree that this Release of All Rights shall in all respects be governed by the laws of the
Philippines including all matters of construction and validity. I further agree that any disputes
arising from this settlement agreement shall be referred to the competent court or authorities of
the Philippines, to the exclusion of any other forum.

I agree that in case I violate the terms and conditions of this Release of All Rights,
willfully or otherwise, I may be held liable for breach of contract and for payment of damages.

I understand and concede that payment under this Release of All Rights by the Owners
of M/S NORWEGIAN BREAKAWAY (DECK AND ENGINE) and its successors-in-interest is
not an admission of liability on their part.

Lastly, I certify that the content of this release have been communicated to me in my

national language/local dialect which is Filipino and that I fully understand its terms and
condition.
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READ THE FOLLOWING STATEMENTS CAREFULLY:

(1) I know that this paper is much more than a receipt. IT IS A RELEASE. I AM GIVING UP

EVERY RIGHT I HAVE.

(2) I know that in signing this Release I am, among other things, now settling in full for all

rights which I now have arising from the death of DIOGENES M. CARPIO, JR. and
which I may have in the future, whether it be based on contract, tort or other grounds, and
even if said rights are not expressly mentioned in this Release.

(3) I realize that the payment of the money mentioned above is not an admission that anyone

(including the Owners and its successors-in-interest) is liable to us for anything.

(4) I am signing this release because I am getting the money. I have not been promised

anything else.

(5) I am satisfied.

m VODR>

THE FOLLOWING IS TO BE FILLED IN BY THE CLAIMANT IN HIS OWN
HANDWRITING:

. Have you read this paper from beginning to end? \AS

Do you know what this paper you are signing? f° =i - fh fufihs
. What is this paper you are signing? ! wits © :

. Do you make the five (5) numbered statements printed above CS db yc you intend that the

parties whom. you are releasing shall rely on the statements as _ the
truth?
Do you know fhat signing this Release settles and ends EVERY right or claim you may have,

whether it be based on contract, tort or on other grounds?_. Ke
Therefore, I am signing my name upon the word Wait IS A RELEASE which is printed

below and which is adopted by me as my own, to soy tat at I mean everything that is said on

this paper.
SIGN ep >>>/THIS & A : Tse
(Name and Signature of claimant)
DATE: 08 November 2016
Witnesses:

Mabiraz 0. SQp2ayoers ATTY. “ MAGPANTAY
Signe nature over Printed Name

SUBSCRIBED AND SWORN to before me this day of 08 November 2016, by the
affiant, who personally appeared before me and whose identity I have confirmed
through her SSS ID No. CRN 0033-2708198-7, Philippines.

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LABOR ARBITER/ ADMINISTERING OFFICER
08 November 2016/ Quezon City, Philippines

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RECEIPT OF PAYMENT

Received from NCL (Bahamas) Ltd. d/b/a NORWEGIAN CRUISE LINE, through C. F.
SHARP CREW MANAGEMENT, INC.,

Bank : Land Bank of the Philippines

Check No. 71241119

Amount : ONE HUNDRED THIRTY THOUSAND US
DOLLARS (130,000.00 USD) IN ITS PESO
EQUIVALENT

Payable to : JELEN O. CARPIO

in addition to the cash advances/allowances previously received by the undersigned

representing full and complete settlement of the Death Compensation Claim in connection
with the death of my husband DIOGENES M CARPIO, JR..

I hereby certify and warrant that if any other person claim from the vessel M/S
NORWEGIAN BREAKAWAY (DECK AND ENGINE) , her Owners, manager,
charterers, agents or P&I Club, compensation/damages in connection with my Disability
Claim, I shall hold said vessel/persons free and harmless from any and all claims and
liabilities whatsoever.

I also certify that I have signed the RELEASE OF ALL RIGHTS, and that I fully
understand all its contents and the legal consequences thereof.

Open

SUBSCRIBED AND SWORN to before me this day of 08 November 2016, by the
affiant, who personally appeared before me and whose identity I have confirmed
through her SSS ID No. CRN 0033-2708198-7, Philippines.

: Maite
QS Ly. nXfunys
LABOR ARBITER /ADMINISTERING OFFICER
08 November 2016/ Quezon City, Philippines

